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                    Exhibit F
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Godfrey, Richard C.

From:                   James Roy [JIMR@wrightroy.com]
Sent:                   Monday, December 17,2012 5:45PM
To:                     Pat Juneau (pjuneau@dheclaims.com); Magistrate Shushan
Cc:                     Calvin Fayard; <cfayard@gmail.com>; Brian Barr; Andrew_Karron@aporter.com; Bloom,
                        Wendy L.; Godfrey, Richard C.; jeffrey.lennard@snrdenton.com; Steve Herman; Mike Juneau
                        (MJJ@juneaudavid.com); Christine Reitano; Nick Gagliano (nick@gaglianogroup.com)
Subject:                BP-- SUPP NOTICE TV ADS PAT SHOT


Judge Shushan and Pat:



Subject to approval of Pat Juneau and the Court, BP and Class Counsel have conferred since the
conference with the Court last week and compromised on the Supplemental Notice TV ad that Pat
recently shot. The compromise agreement is as follows:




The supplemental notice TV ad Pat Juneau wrote & shot stays as is except:

1) to correct web site to be www.DeepwaterHorizonSettlements.com and

2) the proposed wording we are discussing adding is contemplated to be in the nature of a
static "disclaimer/notice"' print message at bottom of TV screen for part of the time of the ad,
to read::

                               "Damages must be as a result of Deepwater Horizon Incident as
provided in

Deepwater Horizon Economic and Property Damages Settlement Agreement. "




This attempts to capture BP's concern about 1.3.1.2. yet not do violence to Class Counsel belief that
the BEL right to collect under the settlement is subject to causation tests in the Settlement
Agreement that are mechanical, objective, formulaic- not subject to alternate cause analysis, not
subjective-state of mind or otherwise. (I've retained the entire string below so the context of
comments by BP and Class Counsel are preserved).



Assuming Mr. Juneau and the Court are in agreement, then the ad production people of Pat (Nick
Gagliano) and our tech people can substitute the website info and insert the "disclaimer to show
during the second sentence of the script and the "finished" product can be distributed to BP, Class

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Counsel, The Court and Pat for final, final review and hopefully, final approval of the Court to run.
Hopefully this remedial post-production can take place quickly.



Regards,



Jim




From: Godfrey, Richard C. [mailto:rgodfrey@kirkland.com]
Sent: Saturday, December 15, 2012 10:44 AM
To: Steve Herman
Cc: James Roy; Calvin Fayard; <cfayard@gmail.com>; Brian Barr; Andrew_Karron@aporter.com;
Bloom, Wendy L.; jeffrey.lennard@snrdenton.com
Subject: RE: BP-- SUPP NOTICE TV ADS PAT SHOT



Jim and Steve:



After conferring with my colleagues, I wish to express our appreciation for your willingness to work
with us on this TV ad issue. You r proposal items (1) and (2) including the static language are
acceptable to us as a means of avoiding the burden and expense of requiring Mr. Juneau to retape
the spot, with the understanding that we will have an opportunity to view the static language to
confirm that it is properly placed so that it will be readily visible to the viewer. Thus, please send
what you propose to be the final version of the TV spot, so that we can review it and finalize what I
think we collectively have now agreed to.



Thanks again. Rick




Richard C. Godfrey, P. C.
Kirkland & Ellis LLP
300 North La Salle
Chicago, IL 60654
312-862-2391 DIRECT_I312-862-2200 FAX
rgodfrey@kirkland .com

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From: Steve Herman [mailto:SHERMAN@hhklawfirm.com]
Sent: Friday, December 14, 2012 6:29PM
To: Godfrey, Richard C.
Cc: James Roy; Calvin Fayard; <cfayard@gmail.com >; Brian Barr; Steve Herman;
Andrew Karron@aporter.com; Bloom, Wendy L.; jeffrey.lennard@snrdenton.com
Subject: Re: BP-- SUPP NOTICE TV ADS PAT SHOT



Thanks

Steve Herman


On Dec 14, 2012, at 6:13PM, "Godfrey, Richard C." <rgodfrey@kirkland.com> wrote:

   Jim: thanks very much. Let me get together with Jeff, Tres (Andy Karron) and Wendy--but I think
   we are very close or may be there on the specific language--depending of course on how the
   proposed language would actually appear in the TV spot itself. But, we have made very good
   progress, and are close. Thus, I will get back with you hopefully yet this evening.



   Rick




   Richard C. Godfrey, P. C.
   Kirkland & Ellis LLP
   300 North La Salle
   Chicago, IL 60654
   312-862-2391 DIRECT _ I 312-862-2200 FAX
   rgodfrey@kirkland .com



   From: James Roy [mailto:JIMR@wrightroy.com]
   Sent: Friday, December 14, 2012 4:15PM
   To: Godfrey, Richard C.; 'Calvin Fayard'; <cfayard@gmail.com>
   Cc: Brian Barr; SHERMAN@hhklawfirm.com; Andrew Karron@aporter.com; Bloom, Wendy L.;
   jeffrey.lennard@snrdenton.com
   Subject: RE: BP-- SUPP NOTICE TV ADS PAT SHOT



   Rick:

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In response to your note below, assuming the supplemental notice TV ad Pat Juneau wrote & shot
stays as is except 1) to correct web site to be www.DeepwaterHorizonSettlements.com and

2) the proposed word ing we are discussing is contemplated to be in the nature of a static
"disclaimer' print message at bottom of TV screen for part of the time of the ad , we'd prefer to see
such a printed/disclaimer/notice to read ::



        "Damages must be as a result of Deepwater Horizon Incident as provided in
Deepwater Horizon Economic and Property Damages Settlement Agreement. "




This should capture your concern about 1.3.1.2, yet not do violence to our belief that the BEL right
to collect under the settlement is subject to causation test in the Settlement Agreement that are
mechanical, objective, formu laic- not subject to alternate cause analysis, not subjective-state
of mind or otherwise.



Look forward to hearing from you. Let us know if call is needed.



Jim




From: Godfrey, Richard C. [mailto:rgodfrey@kirkland.com]
Sent: Friday, December 14, 2012 3:44PM
To: James Roy; 'Calvin Fayard'; <cfayard@gmail.com>
Cc: Brian Barr; SHERMAN@hhklawfirm.com; Andrew Karron@aporter.com; Bloom, Wendy L. ;
jeffrey.lennard@snrdenton.com
Subject: RE: BP-- SUPP NOTICE TV ADS PAT SHOT



Friends: what about one of these two alternatives? Rick
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If you had a loss as a result of the Spill, you may qualify under the Settlement.

           If you were damaged as a result of the Spill, you may qualify under the Settlement




Richard C . Godfrey, P. C.
Kirkland & Ellis LLP
300 North La Salle
Chicago, IL 60654
312-862-2391 DIRECT _ I 312-862-2200 FAX
rgodfrey@kirkland .com



From: James Roy [mailto:JIMR@wrightroy.com]
Sent: Friday, December 14, 2012 1:48PM
To: 'Calvin Fayard'; <cfayard@gmail.com>
Cc: Brian Barr; SHERMAN@hhklawfirm.com; Godfrey, Richard C.; Andrew Karron@aporter.com;
Bloom, Wendy L.; jeffrey.lennard@snrdenton.com
Subject: RE: BP-- SUPP NOTICE TV ADS PAT SHOT



thanks



From: Calvin Fayard [mailto:Calvin@fayardlaw.com]
Sent: Friday, December 14, 2012 7:44AM
To: <cfayard@gmail.com>
Cc: Brian Barr; James Roy; SHERMAN@hhklawfirm.com; richard .godfrey@kirkland .com;
Andrew Karron@aporter.com; wendy.bloom@kirkland.com; jeffrey.lennard@snrdenton .com
Subject: Re: BP-- SUPP NOTICE TV ADS PAT SHOT



Thank you for sorting this out.

Confidential

Calvin C. Fayard, Jr.

Attorney
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    (225) 664-4193


    On Dec 13, 2012, at 3:40PM, "cfayard@gmail.com" <cfayard@gmail.com> wrote:

       Hopefully everyone now has the rough cut of Mr. Juneau's ad plus the transcript of what he
       says, and then also the draft tv scripts (nothing filmed) entitled "Freeze Frame" and "Answers."
       To answer Wendy and Rick's questions on length, all of the TV spots were timed to run 30
       seconds. Per our experts this usually means no more than 28.5 seconds of audio. However
       the Juneau ad is fully timed at 30 seconds of audio.

       A draft radio script was attached to the end of the "Freeze frame/Answers" script submitted to
       the Court, and this ad is segmented by region. It is slotted at 60 seconds/58.5 seconds of
       voiceover sound. To date the only ad that has been filmed is the one with Mr. Juneau, and that
       was done on an expedited basis in order to accommodate Mr. Juneau's schedule.

       Please let me know if anyone needs anything else.

       Thanks,
       Caroline


       Confidential
       Caroline Fayard
       Attorney at Law
       504 810 11 30



       From: "Brian Barr" <BBarr@levinlaw.com>

       Date: Thu, 13 Dec 2012 14:20:52-0600

       To: Jim Roy<jimr@wrightroy.com>; <SHERMAN@hhklawfirm.com>; <cfayard@gmail.com>;
       <Calvin@fayardlaw.com>; <richard .godfrey@kirkland .com>; <Andrew Karron@aporter.com>;
       <wendy.bloom@kirkland .com>; <jeffrey.lennard@snrdenton.com>

       Subject: FW: FW: BP-- SUPP NOTICE TV ADS PAT SHOT



       To make th ings easier for everyone, here is the script as shot.




***********************************************************
IRS Circu lar 230 Disclosure:
To ensure compliance with requirements imposed by the U.S. Internal Revenue Service, we inform

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you that any tax advice contained in this communication (including any attachments) was not
intended or written to be used, and cannot be used, by any taxpayer fa




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